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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                )
 MICHAEL MEYERS, et al.,                        )
                                                )
                Plaintiffs,                     )
                                                )     Lead Case No. 1:23-cv-12513-LTS
        v.                                      )
                                                )
 BHI ENERGY SERVICES, LLC, et al.,
                                                )
                Defendants.                     )
                                                )

           DEFENDANTS’ MOTION TO STRIKE CLASS ALLEGATIONS
        FROM PLAINTIFFS’ CONSOLIDATED CLASS ACTION COMPLAINT

       Defendants BHI Energy Services, LLC and BHI Energy I Specialty Services LLC

(collectively, “Defendants”) hereby move, pursuant to Rule 12(f)(2) of the Federal Rules of Civil

Procedure, to strike the class allegations set forth in the Consolidated Class Action Complaint filed

by Plaintiffs Michael Meyers, Daniel Muske, Gary Kaplan, Kim Wever, Joshua Pyfrom, Richard

Deschamps, Lashawntae Washington, and Ted Melton (collectively, “Plaintiffs”). In support of

this Motion, Defendants rely upon the contemporaneously filed Memorandum in Support.

       WHEREFORE, Defendants respectfully request that the Court: (1) grant this Motion to

Strike Class Allegations; (2) strike all class allegations, proposed class definitions, and putative

class claims from Plaintiffs’ Consolidated Class Action Complaint in their entirety with prejudice;

and (3) provide any such further relief as the Court deems just and proper.

                              REQUEST FOR ORAL ARGUMENT

       Defendants respectfully request a hearing on their Motion to Strike Class Allegation
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Dated: January 29, 2024                Respectfully submitted,

                                       DEFENDANTS BHI ENERGY SERVICES,
                                       LLC AND BHI ENERGY I SPECIALTY
                                       SERVICES LLC,

                                       By their Attorneys,



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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

       I, Robert W. Sparkes, III, hereby certify that counsel for Defendants BHI Energy Services,
LLC and BHI Energy I Specialty Services LLC conferred with counsel for Plaintiffs and attempted
in good faith to resolve or narrow the issues presented by this Motion. The parties were unable to
resolve or narrow the issues presented by this Motion.


                                                    /s/ Robert W. Sparkes, III
                                                    Robert W. Sparkes, III




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on January 29, 2024.


                                                    /s/ Robert W. Sparkes, III
                                                    Robert W. Sparkes, III




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